                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:98-CR-50-6-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 SIDNEY CARL PRATT,                                )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to Time

Served for the reasons set forth in the Supplement to the Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The Government asks the Court to exercise this discretion to deny Defendant based on the

extent of the sentencing reduction Defendant has already received on account of his substantial



       Case 3:98-cr-00050-MOC             Document 553         Filed 11/07/08        Page 1 of 3
assistance to the government. At Defendant’s original sentencing, the Government made a motion

pursuant to U.S.S.G. § 5K1.1 and the Court imposed a sentence of 140 months, representing a 61

percent reduction from the lower end of the guideline range then applicable to him. While the extent

of the Court’s downward departure at Defendant’s original sentencing was extraordinary and may

have exceeded the Government’s expectations, this is not a proper basis for denying a defendant the

benefit of Amendment 706’s 2-point reduction. Pursuant to Application Note 1(B) to U.S.S.G.

§ 1B1.10, only three factors are relevant to the determination of whether and to what extent a

reduction is warranted: (i) the 18 U.S.C. § 3553(a) sentencing factors; (ii) the possible danger to the

community posed by a defendant’s early release; and (iii) a defendant’s post-sentencing conduct.

Furthermore, Application Note 3 suggests that the Court generally ought not to second guess the

value assigned to the defendant’s substantial assistance in his original sentencing but should grant

a reduction that is “comparably less” than the amended guideline range.

4.     While the Court therefore considers Defendant eligible for immediate release, the Court is

somewhat more troubled by his lengthy criminal history, which appears to be related to a lifelong

drug addiction, as well as his reported involvement in a fight while in custody. The Court is of the

opinion that Defendant’s immediate release into society without adequate post-release plans could

pose unjustifiable risks to himself and the community. Therefore, the Court will reduce Defendant’s

sentence to Time Served plus 20 days to provide the Defendant, BOP, and Probation Office adequate

time to prepare for his transition back into society.

       An appropriate Order shall issue separately.




                                                 -2-


       Case 3:98-cr-00050-MOC          Document 553        Filed 11/07/08     Page 2 of 3
                               Signed: November 7, 2008




                               -3-


Case 3:98-cr-00050-MOC   Document 553   Filed 11/07/08    Page 3 of 3
